               Case 2:19-cr-00093-Z-BR Document 47 Filed 06/25/20                                                            Page 1 of 1 PageID 160
✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                             NORTHERN                                                  DISTRICT OF                                        TEXAS



                                      USA
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
                          Davin Seth Waters                                                                            Case Number: 2:19-CR-93-Z-BR

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 Kacsmaryk                                                          Sean Taylor                                               Dean Roper
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 6/25/2020                                                          S. Morrison                                               V.Shrewsbury
 PLF.      DEF.         DATE
                                       MARKED ADMITTED                                                   DESCRIPTION OF EXHIBITS* AND WITNESSES
 NO.       NO.        OFFERED

                      6/25/2020             X             X         Court submission of Exhibit A - Victim Impact Statement from Sarah McCune

                      6/25/2020             X             X         Court Submission of Exhibit B - Victim Impact Statement from Mike McCune

                      6/25/2020             X             X         Court Submission of Exhibit C - Victim Impact Statement from Ana Torres

                      6/25/2020             X             X         Court Submission of Exhibit D - Victim Impact Statement from Lisa Sutherland

                      6/25/2020             X             X         Court Submission of Exhibit E - Government Character letter from Corben Waters

                      6/25/2020             X             X         Court Submission of Exhibit F - Government Character letter from Elizabeth Waters

                      6/25/2020             X             X         Court Submission of Exhibit 1 - Defendant Charater letters




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

                                                                                                                                     Page 1 of    1   Pages
